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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    ANTHONY HAMMOND MURPHY,

                                  Plaintiff,

                            vs.                      Case No.: 1:22-cv-298

    CEREBELLY, INC.,

                                  Defendants.


        NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)

          Pursuant to F.R.C.P. 41(a)(1)(A) of the Federal Rules of Civil Procedure, the above
   captioned action is voluntarily dismissed, with prejudice, against all Defendants.

   Date: January 11, 2023

By: LAW|FIRST
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                                                _________________________________________
                                                United States District Judge
